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                 IN THE UNITED STATES COURT DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

URBAN SUSTAINABILITY DIRECTORS
NETWORK, et al.,

       Plaintiffs,

v.                                       Case No. 1:25-cv-1775-BAH

UNITED STATES DEPARTMENT OF
AGRICULTURE, et al.,

       Defendants.



              INDEX OF EXHIBITS TO FIRST AMENDED COMPLAINT

Exhibit A                             USDN Termination
Exhibit B                             OBC Termination
Exhibit C                             AC Termination
Exhibit D                             PFC Termination
Exhibit E                             IATP Termination
